Exhibit B
FILED: NEW YORK COUNTY CLERK 03/05/2020 12:59 PM                                                                                                                   INDEX NO. 159224/2016
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                      SUPREME              COURT             OF     THE         STATE               OF      NEW           YORK

                      COUNTY             OF      NEW         YORK

                      ----------------------------------------X

                      SHELDON              BARR        and          THOMAS                  GARDNER,

                                                                                Plaintiffs,

                                                 -against-


                      CITY         OF      NEW        YORK          and         116              EAST          65TH


                      STREET,              LLC,




                                                                                Defendants,

                      INDEX          NO.:             159225/2010

                      ----------------------------------------X




                                                                      535           Fifth                Avenue

                                                                      New           York,                New      York

                                                                      April                 9,       2019

                                                                    10:07                a.m.




                                              EXAMINATION                      BEFORE                    TRIAL            of         the         Defendant,

                      116       EAST          65TH           STREET,                LLC,            by         GHISLAINE                    MAXWELL,                   in

                      the       above-entitled                            action,                   held           at          the         above            time

                      and       place,             taken            before                  a     Notary                Public              of        the          State

                      of     New         York,         pursuant                     to           Order           and           Stipulations

                      between              Counsel.




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                 2         A   P   P    E    A     R    A      N   C     E     S:


                 3                     THE       LAW        OFFICE             OF       JOSEPH               FALLEK


                 4                           Attorney                  for          Plaintiffs


                                             One        Battery                Park              Plaza,           32nd         Floor


                 5                           New        York,            New          York           10004


                 6                           BY:            LARRY            FALLEK,                 ESQ.


                 7


                 8                     CUOMO,           LLC.


                 9                           Attorney                  for          Defendant

                                             116        EAST           65TH           STREET,                LLC.


                10                           200        Old        Country                 Road,             Suite         2     South


                                             Mineola,                  New          York           11501


                11

                                             BY:            MATTHEW                 CUOMO,                ESQ.


                12                           FILE           NO.:             AIGPRIV                 17007


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                  1                                                                                                                                                                                                      3


                 2                                                                   S      T        I      P      U         L     A      T         I     O        N     S


                  3                                   IT           IS          HEREBY                       STIPULATED                                  AND            AGREED                 by           and


                  4   between(among)                                           counsel                           for             the              respective                           parties


                  5   hereto,                       that:


                  6


                  7                                   All               rights                       provided                           by          the            C.P.L.R.,


                  8   including                             the              right                   to          object                      to         any            question,


                  9   except                   as           to          form,                   or          to          move                 to         strike                  any


                10    testimony                             at          this(these)                                     examinations(s),                                               are


                11    reserved,                             and,               in           addition,                              the              failure                     to          object                  to


                12    any         question                              or           to         move               to            strike                   any            testimony                           at


                13    this(these)                                  examination(s)                                                shall                  not            be       a      bar            or


                14    waiver                   to          make                such                  motion                      at,              and         is            reserved                       for


                15    the         trial                     of          this                action;


                16


                17                                    IT           IS          FURTHER                           STIPULATED                               AND            AGREED                  by          and


                18    between(among)                                           counsel                           for             the              respective                           parties


                19    hereto,                       that                this(these)                                     examinations(s)                                              may         be


                20    sworn               to          by           the               witness(es)                                   being                  examined,                           before                     a


                21    Notary                   Public                        other                   than               the             Notary                     Public                   before


                22    whom          this(these)                                           examination(s)                                            was(were)                          begun;                     but


                23    the         failure                          to          do           so,             or          to         return                     the             original                       of


                24    this(these)                                 examinations(s)                                                  to             counsel,                        shall               not           be


                25    deemed                   a      waiver                         of         the              rights                   provided                           by




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                 2                                        S     T     I        P        U     L     A    T     I       O    N     S    (Cont'd)


                 3    Rules          3116         and           3117               of         the        C.P.L.R.,                    and         shall               be


                 4    controlled                  thereby;


                 5


                 6                          IT       IS         FURTHER                       STIPULATED                        AND     AGREED                  by         and


                 7    between(among)                            counsel                       for        the           respective                    parties


                 8    hereto,             that            this(these)                               examinations(s)                               may           be


                 9    utilized              for           all         purposes                          as     provided                 by        the


                10    C.P.L.R;


                11


                12                          IT       IS         FURTHER                       STIPULATED                        AND     AGREED                  by         and


                13    between(among)                            counsel                       for        the           respective                    parties


                14    hereto,             that            the         filing                      and        certification                           of         the


                15    original              of       this(these)                                  examination(s)                             shall              be         and


                16    the        same       hereby                  are            waived;


                17


                18                          IT       IS         FURTHER                       STIPULATED                        AND     AGREED                  by         and


                19    between(among)                            counsel                       for        the           respective                    parties


                20    hereto,             that            a     copy               of         the        within                 examination(s)


                21    shall          be     furnished                      to               counsel                representing                           the


                22    witness(es)                    testifying,                                  without                  charge.


                23


                24                          IT       IS         FURTHER                       STIPULATED                        AND     AGREED                  by         and


                25    between(among)                            counsel                       for        the           respective                    parties




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                 2                                                 S        T     I     P       U     L     A         T     I          O        N         S         (Cont'd)


                 3        hereto,                    that              all            rights                provided                                 by             the          C.P.L.R.,


                 4        and            Part          221             of        the            Uniform                     Rules                         for             the              Conduct               of


                 5        Depositions,                                 including                           the            right                      to             object                  to        any


                 6        question,                         except                    as        to         form,                  or            to             move              to          strike


                 7        any            testimony                          at        this            examination                                         is          reserved;                            and


                 8        in        addition,                          the            failure                    to         object                             to         any              question


                  9       or        to          move          to             strike                  any         testimony                                     at         this


                10        examination                              shall                not           be         a        bar              or             waiver                      to         make


                11        such            motion                   at,           and            is         reserved                             to,                 the          trial                of


                12        this             action.


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                 1                                                                   GHISLAINE                         MAXWELL


                 2    G     H     I    S        L        A       I     N         E            M      A       X     W       E        L     L,         called                     as        a


                 3    witness,                      having                       been              first               duly               sworn                 by          a      Notary


                 4    Public               of            the           State                  of           New         York,                   was         examined                            and


                 5    testified                          as          follows:


                 6    EXAMINATION                               BY


                 7    MR.         FALLEK:


                 8                Q.                Please                       state               your              name               for          the                record.


                 9                A.                Ghislaine                               Maxwell.


                10                Q.                Please                       state               your              address                       for             the             record.


                11                A.                44          Kinnerton                             Street,                       London,                     England


                12    SW183X.


                13                                  MR.              FALLEK:                         Good              morning,                        Ms.                Maxwell.                     My


                14                name              is          Larry                  Fallek.                         I       represent                             the


                15                plaintiffs                                in         this                action,                      Sheldon                      Barr                and


                16                Thomas                      Gardner.


                17                                  I         will               be         asking                   you            a     series                     of         questions


                18                about                  an          accident                        that              occurred                        back                 on


                19                September                            9,            2015.                   Many              of         the          questions                               are


                20                going                  to          involve                       your              ownership.                                 When                 I    say,

                                                         ownership,"
                21                "your                                                               I      am        referring                           to             the


                22                ownership                            of             116          East              65th               Street                  in


                23                Manhattan.


                24                                  THE              WITNESS:                              Okay.


                25                                  MR.              FALLEK:                         Before                    we         start                 I         have            a      few




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                 1                                                GHISLAINE                        MAXWELL


                 2    basic                rules              I     want             to          discuss                   with             you.                  Please


                 3    make           all             your           responses                           verbally.                           The           Court


                 4    Reporter                       can't             take               down            a      shake               or          nod         of       the


                 5    head.                  Like             you        are              doing                right              now.


                 6                   THE            WITNESS:                         Of          course.


                 7                   MR.             FALLEK:                     Please                   say            yes         or          no.


                 8                   THE            WITNESS:                         Yes.


                 9                   MR.             FALLEK:                    And              try           not         to        shrug                your


                10    shoulders                        or         anything                       like            that.                    Just            make             all


                11    your           response                       verbally.


                12                   THE            WITNESS:                         I      shall.


                13                   MR.             FALLEK:                     Please                   let           me        finish                  my        entire


                14    question                      before               you              give            an           answer.                     The            Court


                15    Reporter                       cannot              take               us          both             down             speaking                    at


                16    the          same             time.


                17    Q.             Is         that              agreeable?


                18    A.             Yes.


                19                   MR.             FALLEK:                     It's              important                         that              you          stop


                20    me      if          you          don't             understand                              a       question.                           If       you


                21    do      give              an          answer,                  I      will               assume                that              you


                22    understand                         my         question.


                23    Q.             Is         that              understood?


                24    A.             Yes.


                25    Q.             The            address                   that               you           just             gave             the         Court




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                  1                                                                  GHISLAINE                            MAXWELL


                 2    Reporter,                            how           long               have             you               lived                there?


                 3                A.                  '92,               '93.


                  4               Q.                  Is          that               your              primary                          residence                         at             this


                  5   time?


                  6               A.                  No.                It's               just             a       home                 that                I     have.


                 7                Q.                  How           many                 homes               do           you             own            back             in             September


                 8    of      2015?


                  9               A.                  Two.


                10                Q.                  Where                   are           those                  homes?


                11                A.                  116           East                 65th            Street                         and         the             one             in          London.

                                                                                                                                                         London,"
                12                Q.                  When               you             say,               "the               one             in                                          you          are


                13    referring                            to       the              address                       that                 you         just                 gave?


                14                A.                  Yes.


                15                Q.                  Is          that               a      private                       home?


                16                A.                  Yes.


                17                Q.                  Is          that               home              owned                   by         you            individually                                   or


                18    some             other                    form?


                19                A.                  It's               owned                  by       me.


                20                Q.                  Is          your               name              on          the             deed             to            that              property


                21    or      the             title                 of          the             property?


                22                A.                  It         was            back                 then.                     I        kind             of         --         it          was          up


                23    until                 recently.                                I      don't                  know.                       I    can't                 remember


                24    what             it        is             now,            if          I        changed                       it          or        not.


                25                Q.                  Back               in          September                            of            2015,                 did         you              or      any




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                 1                                                                    GHISLAINE                             MAXWELL


                 2        of       your             entities                          or          companies                           own           any              other               homes?


                 3                      A.               No.


                 4                      Q.              What              was              your            primary                         residence                            back              in


                 5        September                          of         2015?


                 6                      A.               116            East               65th            Street.


                 7                      Q.               Can            you           tell                me      how            much               time               you             spent


                 8        there,                  say,              back              in          2015               from             January                        1st          through


                 9        September                          9,         2015?


                10                      A.              A         lot          of          time.                     I      lived              there.                           That's                   my


                11        primary                   residence.


                12                      Q.               Did            you           travel                   back              and           forth                   between


                13        London                  and             New          York?


                14                      A.               Extensively                                 at        all             the           time.                     I        just              don't


                15        go       to         London.                          I      travel                   all             the           time               to         a      lot             of


                16        different                          places.


                17                      Q.               For            what               purposes                         do        you           travel,                       business,


                18        pleasure,                          or         something                          else?


                19                      A.               I        do      business.                                  But,             it       was              also              I      work


                20        on       --         I    work                 for           a      not-for-profit.                                               And             I      do          a        lot


                21        of       time             doing                 conferences                                    and          a      lot           of          speeches.


                22                      Q.               I'm            just               talking                       about               the           time                 period                   of


                23        January                   1,            2015              through                    September                            9,          2015.


                24                                       Would                 that               be       true                with            regard                      to          that                  time


                25        period?




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                 2                                                 C      E        R         T     I         F   I      C      A        T         I       O     N


                 3


                 4                              I,              Theresa                  Acosta,                        a      Shorthand                              Reporter


                 5    and       Notary                Public                  of             the             State             of            New              York,                do


                 6    hereby             certify;


                 7


                 8                              That,              GHISLAINE                                 MAXWELL,                        the              witness                     whose


                 9    examination                          is      hereinbefore                                      set            forth,                      was           duly


                10    sworn,             and          that              such                 examination                                is            a       true            record                   of


                11    the       testimony                        given                  by         such              witness.


                12


                13                              I     further                      certify                       that               I        am           not         related                     to


                14    any       of       the          parties                      to            this            action                      by           blood               or


                15    marriage;                      and         that              I         am         in       no         way              interested                              in         the


                16    outcome              of         this              matter.


                17


                18


                19                                                                                                                                        ____

                20                                                                               THERESA                    ACOSTA


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